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                      7
                      8                         UNITED STATES DISTRICT COURT
                      9                      NORTHERN DISTRICT OF CALIFORNIA
                    10 DARLETTE SHUEY, CHRISTINA                   Case No. 3:23-cv-03099-AMO
                       KEY, and DARREN LESLIE,
                    11 individually and on behalf of all           STIPULATION TO STAY CASE
                       others similarly situated,                  PENDING PRIVATE MEDIATION
                    12
                                        Plaintiffs,                Judge: Hon. Araceli Martínez-Olguín
                    13
                              v.                                   Action Filed:   June 22, 2023
                    14
                       BREVILLE USA, INC.,
                    15
                                           Defendant.
                    16
                    17          WHEREAS, Plaintiff Christina Key filed a Class Action Complaint on June
                    18    22, 2023 (ECF No. 1) against Defendant Breville USA, Inc. (“Breville”);
                    19          WHEREAS, Plaintiffs Darlette Shuey, Christina Key, and Darren Leslie
                    20    (“Plaintiffs”) filed an Amended Class Action Complaint on August 16, 2023 (ECF
                    21    No. 13);
                    22          WHEREAS, Plaintiffs filed a Second Amended Class Action Complaint on
                    23    November 3, 2023 (ECF No. 22);
                    24          WHEREAS, the parties stipulated that Breville’s deadline to respond to the
                    25    Second Amended Class Action Complaint was December 1, 2023, and Plaintiffs’
                    26    deadline to file an opposition thereto is December 22, 2023;
                    27          WHEREAS, the parties have agreed to participate in private mediation to be
                    28    scheduled for a mutually convenient date in 2024;
ARENTFOX SCHIFF LLP                                                        STIPULATION TO STAY CASE PENDING
   ATTORNEYS AT LAW
    SAN FRANCISCO                                                                         PRIVATE MEDIATION
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                      1         WHEREAS, Local Rule 6-1(a) provides that the parties may stipulate in
                      2   writing, without a Court order, to extend the time within which to answer or
                      3   otherwise respond to the complaint;
                      4         THE PARTIES HEREBY STIPULATE AND AGREE, by and through their
                      5   attorneys of record, that
                      6         (1) Breville’s deadline to respond to the Second Amended Class Action
                      7             Complaint shall be May 1, 2024;
                      8         (2) Plaintiffs’ deadline to file their opposition to Breville’s motion to dismiss
                      9             the Second Amended Class Action Complaint shall be May 31, 2024; and
                    10          (3) Breville’s deadline to file any reply in support of its motion to dismiss the
                    11              Second Amended Class Action Complaint shall be June 14, 2024.
                    12          IT IS SO STIPULATED.
                    13
                    14          Respectfully submitted,                        Respectfully submitted,
                    15                                                         ARENTFOX SCHIFF LLP
                    16          /s/ Matthew A. Smith                           /s/ Jeffrey D. Skinner
                    17          Matthew A. Smith (SBN 309392)                  Jeffrey D. Skinner
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                    19          San Francisco, CA 94105                        Dated: October 27, 2023
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                    20                                                         Attorneys for Defendant Breville
                    21          Nicholas A. Migliaccio (pro hac vice)          USA, Inc.
                                Jason S. Rathod (pro hac vice)
                    22          Mark D. Patronella (pro hac vice)              I hereby attest that all other
                    23          MIGLIACCIO & RATHOD LLP                        signatories listed, and on whose
                                412 H Street NE                                behalf the filing is submitted,
                    24          Washington, DC 20002                           concur in the filing’s content
                    25          Tel: (202) 470-3520                            and have authorized the filing.
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                    28
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                    14       Attorneys for Plaintiffs
                    15       Dated: November 30, 2023
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ARENTFOX SCHIFF LLP                                                    STIPULATION TO STAY CASE PENDING
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    SAN FRANCISCO                                            -3-                      PRIVATE MEDIATION
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